Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 1 of 15 PageID #: 7




                                                                 Exhibit A
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 2 of 15 PageID #: 8
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 3 of 15 PageID #: 9
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 4 of 15 PageID #: 10
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 5 of 15 PageID #: 11
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 6 of 15 PageID #: 12
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 7 of 15 PageID #: 13
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 8 of 15 PageID #: 14
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 9 of 15 PageID #: 15
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 10 of 15 PageID #: 16
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 11 of 15 PageID #: 17
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 12 of 15 PageID #: 18
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 13 of 15 PageID #: 19
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 14 of 15 PageID #: 20
Case: 1:21-cv-00122-SNLJ Doc. #: 1-1 Filed: 08/27/21 Page: 15 of 15 PageID #: 21
